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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION



  United States of America                   )               CASE NO.1:06CR00594-020
             Plaintiff                       )
                                             )               Judge David D. Dowd, Jr.
              - vs -                         )
                                             )               ORDER
  Lamar Pugh                                 )
                                             )
              Defendant                      )




      The defendant and his counsel, Darin Thompson appeared before this Court on June 27,

  2012.

      A report and recommendation was filed on May 2, 2012. See docket #1432. The Court

  adopts the report and recommendation of Magistrate Judge Nancy Vecchiarelli and finds the

  defendant in violation of his terms and conditions of supervised release as stated in the Violation

  Report.

      IT IS ORDERED that the defendant be committed to the custody of the Bureau of Prisons

  for a period of five (5) months. Upon release from confinement the term of supervised release

  is terminated. The defendant is remanded to the custody of the United States Marshal.




  June 28, 2012                                      s/David D. Dowd, Jr.
     Date                                            DAVID D. DOWD, JR.
                                                     U. S. DISTRICT JUDGE
